Case 3:16-md-02738-MAS-RLS         Document 33291-4      Filed 09/20/24   Page 1 of 1
                                   PageID: 258602




                        CERTIFICATION OF SERVICE

      I hereby certify that on September 20, 2024, a true and correct copy of the

foregoing motion was filed electronically. Notice of this filing will be sent by

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